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 5   Attorney for Defendant, CAESAR ALEJANDRO GOMEZ
 6

 7
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        CASE NO: 1:15-cr-00288 LJO
10
                    Plaintiff,
11
     v.
12                                                    STIPULATION TO CONTINUE
                                                      SENTENCING AND ORDER
13
                                                      [Proposed] Date: November 27, 2017
14   CAESAR ALEJANDRO GOMEZ,                          [Proposed] Time: 8:30 AM
               Defendant.                             Courtroom: LAWRENCE J. O’NEILL
15

16

17
            The parties hereto, by and through their respective attorneys stipulate that the sentencing
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19   hearing in this action be continued from October 30, 2017 to November 27, 2017 at the hour of

20   8:30 am before the Honorable Lawrence J. O’Neill. Formal Objections to be filed with the Court

21   on or before November 6 2017. This stipulation is needed because the defendant’s informal
22   objections were sent via email to both the probation department and to the United States
23
     Attorney’s Office in a timely manner, however, on October 10, 2017 Senior Probation Officer
24
     Anthony Andrews electronically filed a notice to the Court that the defendant did not serve any
25
     informal objections to the PSR. In response to this notice, counsel for defendant spoke with
26

27   Senior Probation Officer Andrews alerting him to the fact that counsel had in fact emailed to him

28   the defendant’s informal objections on October 2, 2017. It was determined that there was either

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     an electronic or administrative error which prevented Senior Probation Officer Andrews from
 1

 2   personally receiving the defendant’s informal objections. This requested sentencing schedule

 3   will give the probation officer time to respond to the defendant’s informal objections and give

 4   counsel time to file formal objections if necessary.
 5

 6
     Dated: October 12, 2017                                /s/ Salvatore Sciandra
 7                                                          Attorney for Defendant
                                                            CAESAR ALEJANDRO GOMEZ
 8

 9   Dated: October 12, 2017                                Phillip Talbert
                                                            Acting United States Attorney
10                                                          By: /s/ KATHLEEN SERVATIUS
                                                            Approved by Email on October 10 2017
11

12

13                                         ORDER

14          The court has reviewed and considered the stipulation of the parties and good cause

15   appearing, IT IS ORDERED that the sentencing hearing in this matter be reset to November 27, 2017

16   at 8:30 AM.. Formal Objections to be filed with the Court on or before November 6 2017.
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18
     IT IS SO ORDERED.
19
        Dated:     October 12, 2017                          /s/ Lawrence J. O’Neill _____
20                                                 UNITED STATES CHIEF DISTRICT JUDGE
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     STIPULATION TO CONTINUE SENTENCING CASE NO. 15-CR-00288
